                          Case
AO 245C (Rev. 02/18) Amended     4:15-cr-00038-JM
                             Judgment in a Criminal Case                     Document 902 Filed 04/18/19 Page
                                                                                                          (NOTE:1 IdentF:llw&Oterisks
                                                                                                                  of 6                (*))
                     Sheet 1                                                                                                               U.S. DISTRICT COURT
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                                             UNITED STATES DISTRICT COURT
                                                                     Eastern District of Arkansas                            ~ JAMES W. McCvnJ1V1.W\..

                UNITED STATES OF AMERICA                                              ) AMENDED JUDGME~
                                       v.                                             )

               CHRISTOPHER GRANT WATSON                                               )   Case Number: 4:15cr00038-01 JM
                                                                                      ~   USM Number: 28955-009
Date of Original Judgment:                  9/27/2017                                 )   Mark Hampton
                                            (Or Date of last Amended Judgment)        )   Defendant's Attorney
Reason for Amendment:                                                                 )
~ Correction of Sentence on Remand (18 U.S.C. 3742(f)(I) and (2))                         D   Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or 3583(e))
D   Reduction of Sentence for Changed Circumstances (Fed. R. Crim.
                                                                                      )   D   Modification oflmposed Term oflmprisonment for Extraordinary and
    P. 35(b))                                                                         )       Compelling Reasons (18 U.S.C. § 3582(c}(I}}
                                                                                      )
D   Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))                   D   Modification oflmposed Term oflmprisonment for Retroactive Amendment(s)
                                                                                      )       to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))
D   Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)
                                                                                      )
                                                                                      )
                                                                                          D   Direct Motion to District Court Pursuant   D   28 U.S.C. § 2255 or
                                                                                              D 18 U.S.C. § 3559(c)(7)
                                                                                      )
                                                                                          D   Modification of Restitution Order (18 U.S.C. § 3664)

THE DEFENDANT:
~ pleaded guilty to count(s)             1, 2, 3 of Superseding Information
•   pleaded nolo contendere to count(s)
    which was accepted by the court.
•   was found guilty on count(s)
    after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                      Nature of Offense                                                                      Offense Ended                    Count
 18 USC§ 371                          Conspiracy to Possess with Intent to Distribute and to                                 1/27/2015                       1
                                      Distribute Hydrocodone

 18 USC§ 1347                         Health Care Fraud                                                                      1/27/2015                       2
       The defendant is sentenced as provided in pages 2 through ---'6=---- of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
•   The defendant has been found not guilty on count(s)
•   Count(s) _ _ _ _ _ _ _ _ _ _ _ _ _                           •      is    Dare dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material clianges in economic circumstances.
                                                                                 4/17/2019
                                                                                                                             ent

                                                                                                                            ,
                                                                                                                                             U.S. DISTRICT JUDGE



                                                                                          Date
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                     Sheet IA                                                               (NOTE: Identify Changes with Asterisks (*))
                                                                                       Judgment -   Page   -=2-       of        6
DEFENDANT: CHRISTOPHER GRANT WATSON
CASE NUMBER: 4:15cr00038-01 JM

                                       ADDITIONAL COUNTS OF CONVICTION

Title & Section                Nature of Offense                                    Offense Ended               Count
31 USC§ 5324(a)(3)              Structuring Transactions to Evade Reporting         1/27/2015                     3

and 5324(d)                     Requirement Prohibited
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                     Sheet 2 - Imprisonment                                                                (NOTE: Identify Changes with Asterisks (*))
                                                                                                      Judgment- Page        3       of          6
DEFENDANT: CHRISTOPHER GRANT WATSON
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                                                             IMPRISONMENT

        The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
total term of :
60 MONTHS on Count 1; 108 MONTHS on Count 2; 60 MONTHS on Count 3, all to run concurrent




D         The court makes the following recommendations to the Bureau of Prisons:
The Court recommends the defendant be designated to Texarkana or Millington BOP and that the defendant participate in
non-residential substance abuse treatment and educational and vocational programs.



l!'1'     The defendant is remanded to the custody of the United States Marshal.

D         The defendant shall surrender to the United States Marshal for this district:
          D     at                                 D    a.m.      D    p.m.      on

          D     as notified by the United States Marshal.

D         The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          D     before 2 p.m. on

          D     as notified by the United States Marshal.

          D     as notified by the Probation or Pretrial Services Office.



                                                                   RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                        to

at      _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ with a certified copy of this judgment.




                                                                                                   UNITED STATES MARSHAL


                                                                            By
                                                                                              DEPUTY UNITED STATES MARSHAL
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                      Sheet 3 - Supervised Release                                                       (NOTE: Identify Changes with Asterisks(*))
                                                                                                                     4_ of
                                                                                                     Judgment-Page _ _                      6
 DEFENDANT: CHRISTOPHER GRANT WATSON
 CASE NUMBER: 4:15cr00038-01 JM
                                                       SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:

THREE (3) YEARS on each Count to run concurrent




                                                   MANDATORY CONDITIONS
1. You must not commit another federal, state or local crime.
2. You must not unlawfully possess a controlled substance.
3. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
   imprisonment and at least two periodic drug tests thereafter, as determined by the court.
        D The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
             substance abuse. (check if applicable)
4. D You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
       restitution. (check if applicable)
5. ~ You must cooperate in the collection of DNA as directed by the probation officer. (check ifapplicable)
6.  •   You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
        directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
       reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7. D You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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                     Sheet 3A - Supervised Release
                                                                                                         Judgment-Page   -~5~_ of           6
DEFENDANT: CHRISTOPHER GRANT WATSON
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                                     STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

I.     You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
       release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
       time frame.
2.     After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
       when you must report to the probation officer, and you must report to the probation officer as instructed.
3.     You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
       the court or the probation officer.
4.     You must answer truthfully the questions asked by your probation officer.
5.     You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
       arrangements (such as the people you live with), you must notify the probation officer at least IO days before the change. Ifnotifying
       the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
       hours of becoming aware of a change or expected change.
6.     You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer
       to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.     You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
       doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
       you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
       responsibilities), you must notify the probation officer at least IO days before the change. If notifying the probation officer at least IO
       days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
       becoming aware of a change or expected change.
8.     You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
       convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
       probation officer.
9.     If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
I 0.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
       was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
       tasers).
11.    You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
       first getting the permission of the court.
12.    If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
       require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
       person and confirm that you have notified the person about the risk.
13.    You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature                                                                                       Date
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                     Sheet JB - Supervised Release                                              (NOTE: Identify Changes with Asterisks (*))
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DEFENDANT: CHRISTOPHER GRANT WATSON
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                                    ADDITIONAL SUPERVISED RELEASE TERMS
  14) The defendant will participate under the guidance and supervision of the probation office in a substance abuse
  treatment program which may include drug and alcohol testing, outpatient counseling, and residential treatment. The
  defendant will abstain from the use of alcohol during supervision. The defendant will pay for the cost of treatment at the
  rate of $10 per session, with the total cost not to exceed $40 per month, based on ability to pay as determined by the
  probation office. In the event the defendant is financially unable to pay for the cost of treatment, the co-pay requirement
  will be waived.

  15) The defendant must disclose his substance abuse history to prescribing physicians and allow the probation office to
  verify disclosure.

  16) The defendant provide the probation office with access to any requested financial information (including financial
  gains) and authorize the release of any financial information. The probation office may share financial information with the
  U.S. Attorney's Office.

  17) The defendant must not incur new credit charges or open additional lines of credit without the approval of the
  probation office unless all criminal penalties have been satisfied.
